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123905 BOOK: 79 MRE PAGE: 452 Pagus; Z
t ~ ATATE OF MONTANA VALLEY COUNTY

RECORDED: 11/10/2003 13:25 KOX: ASS@N CONT

LYNNE NYQUIST CLERK AND RECORDER

FER: $12.00 er Ract Ranft Banc _
TO: VCAG PO BOX 26, GLASGON, MY 59230

ASSIGNMENT
KNOW ALL MEN BY THESE PRESENTS:

‘That the undersigned, GO BIG MOUTAIN VENTURES, LLC, a Flori2a limited
liability company (the “Assignor”), does hereby assign, transfer and set over unto Milk
River Hunting Préserve, LLC, a Montana limited liability company, of 105 Baker
Avenue, Whitefish, Montana 59937, its successors and.assigns, all of Assignor’s, right,
title, estate and interest in and to a Contract For Deed dated October 25,2001 under
which Assigior is the purchaser of an- undivided one-quarter (1/4) interest in real
property located in Valley County, Montana more particularly described as follows:

See Exhibit “A” attached hereto and incorporated by reference.

EN WITNESS WHEREOE, the Assignor has hereto exectited this Assignment this

29" day of October, 2003.

STATE OF MONTANA )
“$8

County of Flathead )

This instrument was acknowledged before me on October 2H7_, 2003, by Kirk
A. Scoggins as a Member of Go Big Mountain Ventures, LLC.

(i Public for the State fen

FO cgay, = Residing at Kalispell, Montana
went G. yy My commission expires: April 1, 2004
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EXHIBIT

Case 4:22-cv-00074-BMM Document 100-8 Filed 08/08/23 Page 2 of 2
: 123905 Page 2 of 2

EXHIBIer *A”

Township 28 North, Range.41 Fast, MPM.

Section 28: NW /4NW 1/4

EXCEPTING THEREFROM the Railroad and Highway Right of Way described as follows:

Beginning at the Northwest Section corner of Section 28; thence S. GDO9° W. a distance of 330,00 feet
along the west section line of said Section 28 to the truc pomt of beginning; thence 8. OD09" W.
continuing along the section line a distance of 344.28 feet; fhence.S 71D44°58" E. a distance of 1392.74
fect; thence N. 0113°32” B, along the 1/16 section line a distance of 334.88 feet; thence N 71D23'18" W.
along the Highway R/W linea distance of 696.00 feet to highway station 593+-00; thence -N, 18D36°42”
E. a distance of 20 feet; thence N 71D 23°18” W. along the Highway R/W line a distance of 700.11 feet to
the point of true beginning.

ALSO EXCHPTING therefrom all of the lands n-th of the U.S. Highway No. 2 located in the
NWIANW1/4 Section 28, Township 28 North, Range 41 Bast, MPM. (Deed reference: Book 124 Deeds
page 852, Doc. No. 36749)

Excepting therefrom lands conveyed to the State of Montana Highway Commission and more particularly
described in book 65 of Deeds on pages 613-614,

Section 28: A strip or piece of land 185 feet wide in tho EL/2NW1/4 lying between two lines parallel fo
and distant respectively, 75 fest and 260 feet southwesterly, measured at right angles, from the center line
of the main track of the railway of the Great Northern (now Buclinglon Northern) Railway Company, as
now located and cor structed. (Deed reference book 63, MRE pages 27-28)

Section 29: All that part of the right of way of the milway of Great Narthem, now Burlington Northem,
lying between two lines parallel to and distant, respectively, 75 feet and 260 fect Southwesterly, measured
atright angles from the centerline of the railway of the Great Northern Railway (now Burlington
Northern) Company, as now located and-constructed and extending from the East line of said Section 29
Northwesterly to a line drawn at a right angle to said centerline of railway at a point thercin distant
Northwesterly 800 feet, measurcd along said center line, from its intersection with the East ime of said
Section 29. (Deed reference book 61 MRE pages 323-328)

Section 29: Lots 6, 7, 13, 15, SUZNEIM/4

Section 29: Lots 1, 2,5, 8, 10, 11, NI/2NEI/4 less railroad and highway right-of-way

Section 30; Lot 23

Situated in Valley County, Montana,

STATE OF MONTANA )

73s
County of Valiey }
Recorded. at the request of “48 day of , 2003 at o'clock
i. and recorded in the records of Valley County, State of Montana.
'
Fee $. Pd. :
Valley County Clerk and Recarder
Reception No.
Depuly
After recording please retura, fy:

Vincent G. Rieger

Law Office of Vincent G. Rieger
4 Meridian Court

Kalispell, MT 59901

Exhibit A attached to and made a part of that certain Assignment dated October_27 , 2003, by Go Big Mountain
Ventures, LLC, a Florida limited liability company, as Assignor, and Milk River Huntiug Preserve, LLC, a Montana

limited Hability company, as Assipnee,

